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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA
                                           Norfolk Division

    UNITED STATES OF AMERICA                              )
                                                          )
                   v.                                     )        Criminal No.: 4:23cr54
                                                          )
    EARVIN JEROME MOORE,                                  )
                  Defendant                               )

           TRIAL BRIEF OF DEFENDANT EARVIN JEROME MOORE
            Now Comes the Defendant, EARVIN JEROME MOORE, by and through

    counsel, and submits his Trial Brief. In his Brief, Mr. Moore will address (1) the charges

    against him in the Second Superseding Indictment, (2) the law governing the case, (3)

    anticipated trial evidence, (4) the anticipated length of testimony of defense witnesses, (5)

    the evidentiary basis for exhibits and testimony, and (6) anticipated evidentiary or legal

    issues in dispute.

    1. Charges in the Indictment
    The charges against Mr. Moore include the following:

       •    Count 2: Conspiracy to Distribute and Possess with Intent to Distribute
            Controlled Substances:

               o The Government alleges that between 2017 and 2024, Mr. Moore and

                   others unlawfully, knowingly, and intentionally combined, conspired,

                   confederated, and agreed to distribute and possess with intent to distribute

                   controlled substances, specifically

                         •   1000 kilograms or more of marijuana (Schedule I controlled

                             substance).

                         •   400 grams or more of fentanyl (Schedule II controlled substance).



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                    •    500 grams or more of cocaine (Schedule II controlled substance).

                    •    oxycodone (Schedule II controlled substance).

                    •    psilocybin (Schedule I controlled substance).

                    •    promethazine (Schedule V controlled substance).

             in violation of 21 U.S.C. 846

       •   Count 3: Conspiracy to Commit Money Laundering:

             o The Government alleges that beginning in or about 2017 through 2024,

                 Mr. Moore and others unlawfully, knowingly, and willfully combined,

                 conspired, confederated, and agreed to conduct, attempt to conduct, and

                 cause to be conducted financial transactions affecting interstate commerce

                 knowingly, willfully, and unlawfully.

             o The Government further alleges that these transactions involved the

                 proceeds of specified unlawful activity, namely, conspiracy to distribute

                 narcotics, with the intent to conceal and disguise the nature, location,

                 source, ownership, and control of the proceeds.

             o The Government further alleges that Mr. Moore knew that the property

                 involved in the financial transactions represented the proceeds of some

                 form of unlawful activity in violation of 18 U.S.C. 1956(h).

       •   Counts 58 and 59: Possession with Intent to Distribute Marijuana:

             o The Government alleges that on the dates of June 14, 2022 and September

                 14, 2023, in Newport News, Virginia, Mr. Moore unlawfully, knowingly,

                 and intentionally possessed with intent to distribute a substance containing

                 a detectable amount of marijuana, in violation of 21 U.S.C. 841(a)(1).




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       •   Count 60: Managing a Drug-Involved Premises:

              o The Government alleges that between 2022 and 2023, Mr. Moore

                 unlawfully and knowingly managed and controlled real property and

                 improvements located at Extra Space Storage, as a renter and occupant. It

                 is alleged that he knowingly and intentionally made available for use said

                 place for the purpose of unlawfully manufacturing, storing, distributing,

                 and using a controlled substance in violation of 21 U.S.C. 856.

       •   Count 61: Use of a Communication Facility in Furtherance of Drug
           Trafficking:

              o The Government alleges that on July 24, 2022, in the Eastern District of

                 Virginia, Mr. Moore used a communication facility, namely, a telephone,

                 causing, committing, and facilitating the commission of an act constituting

                 a felony, in violation of 21 U.S.C. 843(b).

    2. The Law Governing the Case
       •   Count 2: Conspiracy to Distribute and Possess with Intent to Distribute
           Controlled Substances:

              o For conspiracy charges under 21 U.S.C. 846 and 18 U.S.C. 1956(h), the

                 Government must prove the existence of an agreement, Mr. Moore’s

                 knowledge of the agreement, and Mr. Moore’s voluntary participation

                 United States v. Stockton, 349 F.3d 755; United States v. Ojedokun, 517

                 F. Supp. 3d 444; United States v. Shippy, 471 Fed. Appx. 172; Wright v.

                 United States, 2012 U.S. Dist. LEXIS 50832.

              o To convict, the Government must prove (1) an agreement to distribute or

                 possess with intent to distribute controlled substances, (2) Mr. Moore’s


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                 knowledge of the conspiracy, and (3) Mr. Moore’s knowing and voluntary

                 participation in the conspiracy United States v. Stockton, 349 F.3d 755;

                 United States v. Williams, 2021 U.S. App. LEXIS 31583

       •   Count 3: Conspiracy to Commit Money Laundering:

              o The Government must prove (1) an agreement to commit money

                 laundering, (2) Mr. Moore’s knowledge that the proceeds were derived

                 from unlawful activity, and (3) Mr. Moore’s knowing and voluntary

                 participation in the conspiracy United States v. Ojedokun, 517 F. Supp. 3d

                 444; United States v. Woodley, 2018 U.S. Dist. LEXIS 20484.

       •   Counts 58 and 59: Possession with Intent to Distribute Marijuana:

              o The Government must prove (1) Mr. Moore's possession of marijuana, (2)

                 Mr. Moore's knowledge of the possession, and (3) Mr. Moore's intent to

                 distribute the marijuana. United States v. Williams, 130 F.4th 177; United

                 States v. Richardson, 2013 U.S. Dist. LEXIS 109101; United States v.

                 McCrea, 529 Fed. Appx. 386; United States v. Sutton, 126 F.4th 869;

                 United States v. Cloud, 680 F.3d 396; United States v. Ravenell, 66 F.4th

                 472.

       •   Count 60: Managing a Drug-Involved Premises:

              o For managing a drug-involved premises under 21 U.S.C. 856, the

                 Government must prove management or control, knowledge, and intent

              o The Government must prove (1) Mr. Moore’s management or control of

                 the property, (2) Mr. Moore’s knowledge of its use for drug-related

                 activities, and (3) Mr. Moore’s intent to make the property available for




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                  such use USCS Const. Art. I, § 8, Cl 3; United States v. Smith, 2024 U.S.

                  App. LEXIS 10061; United States v. Goff, 404 Fed. Appx. 768.

       •   Count 61: Use of a Communication Facility in Furtherance of Drug
           Trafficking:

              o For use of a communication facility under 21 U.S.C. 843(b), the

                  Government must prove knowing use, intent, and facilitation of a drug

                  offense, United States v. Ath, 951 F.3d 179; United States v. Lee, 1996

                  U.S. App. LEXIS 16424.

              o The Government must prove (1) Mr. Moore’s knowing use of a

                  communication facility, (2) Mr. Moore’s intent to facilitate a drug offense,

                  and (3) the connection between the communication and the drug offense

                  United States v. Ath, 951 F.3d 179; United States v. Shippy, 471 Fed.

                  Appx. 172; United States v. Davis, 801 Fed. Appx. 75; United States v.

                  Lee, 1996 U.S. App. LEXIS 16424. United States v. Lewis, 387 F. Supp.

                  2d 573; United States v. Walton, 2009 U.S. Dist. LEXIS 132609.

    3. Anticipated Trial Evidence
           The Government is expected to present evidence such as:

              o   Testimony from co-conspirators or witnesses to establish agreements and

                  Mr. Moore’s participation in the conspiracies.

              o   Physical evidence, such as controlled substances, financial records, or

                  communications, to establish possession, intent, and facilitation.

              o Surveillance, including Title III wire taps, photographs, in-person and

                  drone videos.




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                 o   Expert testimony to explain the significance of drug quantities, financial

                     transactions, or communication patterns.

    4. Anticipated Length of Testimony of Defense Witnesses
            Mr. Moore expects that the Government will rely on evidence from Title III wire

    taps, electronic and in-person surveillance, photographs, and the testimony of cooperating

    witnesses.

            At present, Mr. Moore does not anticipate calling any witnesses but reserves the

    right to call any of the Government’s identified witnesses as potential rebuttal witnesses,

    for the purpose of impeachment should the need arise.


    5. Evidentiary Basis for Exhibits and Testimony
            The Federal Rules of Evidence govern the admissibility of evidence. Relevant

    evidence must meet the standards of Rule 401 (relevance) and Rule 403 (not unduly

    prejudicial). United States v. Benkahla, 2006 U.S. Dist. LEXIS 71458. Hearsay evidence

    must fall within an exception under Rule 802. Mr. Moore will be prepared to challenge

    any evidence that fails to meet these standards, including evidence of prior bad acts under

    Rule 404(b) 18 USCS § 1957, United States v. Williams, 130 F.4th 177.

            Mr. Moore reserves his right to call the Government’s witnesses for impeachment

    in the event of prior inconsistent statements. It is difficult to state with certainty the

    anticipated length of his testimony. However, should Mr. Moore call witnesses, he does

    not anticipate he will need more than 1 day.




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    6. Anticipated Evidentiary or Legal Issues in Dispute
           Mr. Moore does not anticipate any specific disputes, but reserves the right to

    object to evidence which does not meet the standard for admissibility and sufficiency,

    more specifically:

       •    Admissibility of Evidence: Whether the Government's evidence meets the

           standards of relevance, reliability, and admissibility under the Federal Rules of

           Evidence 18 USCS § 1957, United States v. Williams, 130 F.4th 177.

       •    Sufficiency of the Evidence: Whether the Government can prove each element

           of the charges beyond a reasonable doubt, particularly Mr. Moore’s knowledge

           and intent United States v. Stockton, 349 F.3d 755, United States v. Ojedokun,

           517 F. Supp. 3d 444.

           Mr. Moore reserves the right to present various exhibits and elicit testimony

    relevant to impeachment, such as prior inconsistent statements. Further, Mr. Moore may

    present exhibits and testimony to directly attack the Government’s theory of the case and

    burden of proof.

           Respectfully submitted this 24th day of June, 2025.

                                         EARVIN JEROME MOORE
                                              /S/
                                         OF COUNSEL

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                                 Certificate of Service
            I hereby certify that on this 24th day of June 2025 I electronically filed the
    foregoing trial brief with the Clerk of Court using the CM/ECF system, which will send a
    notification (NEF) to:

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